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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA

In re:

         EDWARD C. LECKEY                         )           Case No. 19-22390-CMB
                                                  )           Chapter 7
                                Debtors           )
                                                  )           Document No.
         JEFFREY J. SIKIRICA,                     )
         CHAPTER 7 TRUSTEE                        )
                                                  )
                                Movant            )
                                                  )
                        v.                        )
                                                  )
         EDWARD C. LECKEY                         )
                                                  )
                                Respondent.       )


                  MOTION TO COMPEL DEBTOR TO TURNOVER
              RECORDS OF THE ESTATE PURSUANT TO 11 U.S.C. § 521(4)

         AND NOW comes Jeffrey J. Sikirica, Chapter 7 Trustee for the Bankruptcy Estate of

Edward C. Leckey (hereinafter the “Trustee” by and through his attorney, Jeffrey J. Sikirica,

Esquire, and files this motion to compel the Debtor, Edward C. Leckey, to turnover records of

the estate pursuant to 11 U.S.C. § 521(4) (hereinafter the “Motion”) to the Trustee stating in

support thereof as follows:

         1. Trustee was duly appointed as acting Trustee in this case.

         2. The Respondents, Edward C. Leckey, (hereinafter the “Debtor”) commenced this case

under Chapter 7 of the United States Bankruptcy Code on June 14, 2019.

         3. The Debtor did not appear at the original scheduled §341 Meeting of Creditors on

October 7, 2019 but he did appear at the rescheduled §341 Meeting of Creditors held on

November 4, 2019.
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       4. On November 14, 2019, the Office of the U.S. Trustee conducted a deposition of the

Debtor at which it was first revealed that the Debtor’s wife had passed away in October of 2019

even though the Debtor had stated at the November 2019 §341 Meeting of Creditors that she was

in a nursing home.

       5. On November 21, 2019 the Trustee sent a letter to Debtor’s counsel requesting

additional information. The letter also refers to a previous request for information which was not

completely answered. A copy of the letters are attached as exhibit “A” to this Motion.

       6. The Trustee is requesting that pursuant to 11 U.S.C. § 521(4) that the Debtor be

compelled to provide the following information and or records to the Trustee:

       a. A copy of the will of the late Janice B. Leckey and if there is no will, a sworn affidavit

by the Debtor verifying there is no will,

       b. A listing of all assets of any kind in the name of Ms. Janice B. Leckey at the time of

Ms. Leckey’s death,

       c. A copy of any life insurance policies on the life of Ms. Janice B. Leckey and if there is

none, a sworn affidavit by the Debtor verifying there are no insurance policies,

       d. A copy of the Jeep Wrangler title to verify joint ownership at the time of the filing of

the Bankruptcy Petition,

       e. The dates and any paperwork associated with the purchases of the T.A. King

paintings, and,

       f. The dates the coin collection was acquired along with any paperwork associated with

the purchases.

       WHEREFORE, the Trustee requests this Honorable Court to issue an order compelling

the Respondent, Edward C. Leckey, to provide the information and documents requested in
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paragraph 6. of this Motion within thirty days and for such other relief that is just and proper.

                                                              Respectfully Submitted,

                                                               /s/ Jeffrey J. Sikirica
                                                              Jeffrey J. Sikirica, Chapter 7 Trustee
                                                              PA I.D.# 36745

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